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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-01406-WJM-NYW

   CLIFFORD TAYLOR,

          Plaintiff,

   v.

   ARMOR CORRECTIONAL HEALTH SERVICES, INC.,
   SHERIFF JUSTIN SMITH, in his individual and official capacities,
   THE BOARD OF COUNTY COMMISSIONERS FOR THE COUNTY OF LARIMER,
   CAPTAIN TIMOTHY PALMER,
   AMANDA JARMAN,
   DR. KEITH MCLAUGHLIN,
   DAYLA COOK,
   KYRA HARMON,
   LYNETTE HOISINGTON,
   ALEX MAHLOCH,
   JESSINA MORSE,
   LYNN SCHULTZ,
   LEAH OAKLEY,
   CAROLYN PEISERT,
   CHEYENNE PALMER,
   KATIE WENZEL, and
   MICHELLE WILSON,

          Defendants.

   ______________________________________________________________________________

   RESPONSE TO LARIMER COUNTY DEFENDANTS’ MOTION TO DISMISS (Doc. 46)
                       AND REQUEST FOR ORAL ARGUMENT
   ______________________________________________________________________________

          Plaintiff Clifford Taylor, through his attorneys Gail K. Johnson, Aurora L. Randolph, and

   Haley M. DiRenzo of Johnson & Klein, PLLC, hereby responds to the Larimer County

   Defendants’ Motion to Dismiss (Doc. 46) and respectfully requests oral argument.
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          Mr. Taylor’s Amended Complaint sufficiently alleges facts supporting his Monell claim

   against Larimer County and his state and federal constitutional claims against Defendants Smith

   (individually) and Timothy Palmer. The law governing the federal conduct is clearly established,

   and Defendants’ other arguments are unpersuasive. The Court should deny Defendants’ Motion.

                                      STANDARD OF REVIEW

          At the motion-to-dismiss stage, the Court must accept as true all well-pleaded factual

   allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A court must also construe all facts in

   the light most favorable to the plaintiff. Alvarado v. KOB-TV, L.L.C., 493 F.3d 1210, 1224 (10th

   Cir. 2007) (internal citations omitted). The Court must find factual allegations plausible when

   the allegations support reasonable inferences that defendants are liable. Iqbal, 556 U.S. at 678.

   The focus of the Court’s inquiry is not whether a claim is probable but rather whether the factual

   allegations “raise a right to relief above the speculative level.” Kay v. Bemis, 500 F.3d 1214,

   1218 (10th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

                                              ARGUMENT

           I.   Mr. Taylor has sufficiently pleaded an underlying constitutional violation.

          The Eighth-Amendment deliberate-indifference standard requires Mr. Taylor to

   demonstrate that he had a “sufficiently serious” medical need and that the Defendants “kn[e]w of

   and disregard[ed]” that need. Mata v. Saiz, 427 F.3d 745, 751 (10th Cir. 2005). Thus, the

   standard requires Mr. Taylor allege: (1) his serious medical need, (2) Defendants’ knowledge of

   the risks posed by failure to treat that need, and (3) Defendants’ disregard of those risks.1 Id.


   1
    Defendants confined Mr. Taylor as a pretrial detainee at the Larimer County Jail (LCJ) until
   May 31, 2018. (Doc. 38 at ¶ 115.) Therefore, up until May 31, 2020, the Fourteenth



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   Mr. Taylor notes that Defendants do not challenge that the infection he suffered is sufficiently

   serious under the objective prong of the deliberate-indifference inquiry. (See Docs. 46, 47.)

   Defendants have thus waived these arguments. See In re: Motor Fuel Temperature Sales

   Practices Litigation, 872 F.3d 1094, 1112, n.5 (10th Cir. 2017).

          The Motions to Dismiss focus on how the Armor Defendants monitored and occasionally

   treated Mr. Taylor’s symptoms, but they do not identify allegations demonstrating treatment of

   his underlying and worsening infection. (Doc. 46 at 11; Doc. 47 at 6-7.) Defendants focus on

   palliative “treatment” for the infection’s symptoms, which over the course of ten months

   included Band Aids, Gatorade, over-the-counter ointments and medications, and antibiotics that

   had failed to work in the past. But such “treatment” fell so far below the standard of care for the

   infection as to amount to no treatment at all—the equivalent of treating cancer with Advil or a

   broken bone with an Ace bandage. It is well understood that providing an individual some

   medical treatment, particularly treatment that is obviously going to be ineffective given the

   gravity of the medical problem, is not enough to meet constitutional obligations. See, e.g., Perez

   v. Fenoglio, 792 F.3d 768, 777 (7th Cir. 2015) (“If all the Eighth Amendment required was that


   Amendment governed his right to adequate medical care while incarcerated. See Lopez v.
   LeMaster, 172 F.3d 756, 759 n.2 (10th Cir. 1999) (abrogated on other grounds by Brown v.
   Flowers, No. 19-7011, 2020 WL 5509683, at *3 (10th Cir. Sept. 14, 2020). In the excessive-
   force context, pretrial detainees are entitled to a lower standard than that applicable to convicted
   individuals. Kingsley v. Hendrickson, 576 U.S. 389, 400-02 (2015). While the Tenth Circuit has
   yet to decide whether, given Kingsley, a lower standard applies to pretrial detainees’ medical and
   conditions-of-confinement claims, other circuits have so held. See, e.g., Darnell v. Pineiro, 849
   F.3d 17, 30 (2d Cir. 2017) (“Kingsley altered the standard for deliberate indifference claims
   under the Due Process Clause”); Castro v. County of Los Angeles, 833 F.3d 1060, 1070 (9th Cir.
   2016) (noting that the Kingsley Court did not “limit its holding to ‘force’ but spoke to ‘the
   challenged governmental action’ generally). Mr. Taylor is entitled to review of his conditions of
   confinement up to May 31, 2018, under the objective Kingsley standard but proceeds to show he
   sufficiently stated claims for relief under the more stringent Eighth-Amendment standard.


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   prison officials provide some immediate and ongoing attention, they could shield themselves

   from liability (and save considerable resources) by shuttling sick or injured inmates to

   perfunctory medical appointments wherein no meaningful treatment is dispensed”) (internal

   quotations omitted).

          Here, the individual Armor Defendants offered assessments that provided perfunctory

   monitoring without any actual meaningful treatment, as evidenced by Mr. Taylor’s worsening

   infection, which eventually resulted in several additional surgeries and permanent injury. (Doc.

   38 at ¶¶ 238-57.) But “some treatment does not foreclose [a] deliberate indifference claim if the

   treatment received was so blatantly inappropriate as to evidence intentional mistreatment likely

   to seriously aggravate his condition.” Arnett v. Webster, 658 F.3d 742, 751 (7th Cir. 2011)

   (internal citations omitted). Defendants’ “treatments” proved as good as no treatment at all,

   demonstrating the individual Defendants’ deliberate indifference. (See Doc. 56 at 4-19.)

          Additionally, to the extent Defendants argue that Mr. Taylor must prove individual

   liability to establish a claim under Monell v. Department. of Social Services, 436 U.S. 658

   (1978), the Tenth Circuit has expressly held that this is not required. See Garcia v. Salt Lake

   Cty., 768 F.2d 303, 310 (10th Cir. 1985) (where no one employee is deliberately indifferent, “the

   combined acts or omissions of several employees acting under a governmental policy or custom

   may violate an individual's constitutional rights”); see also Todaro v. Ward, 565 F.2d 48, 52 (2d

   Cir. 1977) (same). Regardless of whether this Court agrees that Mr. Taylor pled a constitutional

   violation against any individual, his Amended Complaint is sufficient to meet the Monell test

   because the combined effect of the Defendants’ actions amounts to deliberate indifference.




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    II.   Mr. Taylor has sufficiently plead a Monell claim against Larimer County.

          Mr. Taylor may plead his Monell claim by alleging that Larimer County had a policy,

   custom, or practice that caused or contributed to a constitutional violation against him. See

   Garcia, 768 F.2d 303 at 307. In the absence of an official policy, a party may allege a

   widespread practice that is so permanent and well-settled as to constitute a custom or the

   County’s deliberately indifferent failure to adequately train or supervise its employees. Bryson

   v. City of Oklahoma, 627 F.3d 784, 788 (10th Cir. 2010). Causation exists when the practice is

   “closely related” to the constitutional violation or the “moving force” behind the injury. Board

   of Cty. Com’rs v. Brown, 520 U.S. 397, 404 (1997).

          When a plaintiff alleges the challenged practice has been in place for a significant period

   of time or that other individuals have experienced similar conduct, his allegations support a

   Monell claim. See, e.g., Cannon v. City and Cty. of Denver, 998 F.2d 867, 877-78 (10th Cir.

   1993); Watson v. City of Kansas City, 857 F.2d 690, 696 (10th Cir. 1988). A municipality’s

   failure to train or supervise its employees amounts to deliberate indifference when the need for

   training and supervision is so obvious and the inadequacy is likely to result in constitutional

   violations. City of Canton v. Harris, 489 U.S. 378, 389-90 (1989).

       A. Larimer County has an official policy of ratifying the delay and denial of care for
          financial purposes, as set forth in its contract.

          Mr. Taylor’s Amended Complaint details how the contract between Larimer County and

   Armor incentivizes cost-saving over properly caring for individuals. (Doc. 38 at ¶¶ 340-87.)

   The Amended Complaint also notes that the contract required Larimer County and Armor to

   spend $1.26 per prisoner per day during the time Mr. Taylor was incarcerated at the facility and

   how this number is significant less than what that other facilities spend. (Id.) This evidences a


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   policy for Monell purposes. See McGill v. Correctional Healthcare Companies, Inc., 2014 WL

   2922635, at *8 (D. Colo. June 27, 2014) (finding the plaintiff’s allegations that “defendants have

   created financial incentives that discourage appropriate hospitalization of inmates as well as

   sanctions for instances of improper care” based on statements in the county’s contract supported

   a Monell claim against the county).2

          This cost-saving policy is “closely related” to the rights violation at issue: Defendants

   denied Mr. Taylor expensive outpatient medical care and costly treatments (like proper

   medication) for his worsening infection. Instead, Armor medical providers opted to ignore or

   merely assess his wound or provide cheap palliative “treatments” (amounting to no treatment at

   all), such as prescribing Mr. Taylor the same course of basic antibiotics that had failed to work in

   the past, an over-the-counter ointment intended to treat minor cuts and scrapes (Bacitracin),

   Gatorade, and Band-aids. (Id. at ¶¶ 156-57, 163, 199, 214.) Larimer County had a contractual

   incentive to ratify this denial of care in order to cut costs. Brown, 520 U.S. at 404; (Doc. 38 at

   ¶¶ 121-235, 258-68, 351-68, 382-87.)

       B. Larimer County contracted with Armor because of its widespread practice of
          cutting costs and allowed the unconstitutional practice to continue.

          Mr. Taylor’s Amended Complaint details Armor and Larimer County’s long history of

   prioritizing profit and cost-saving over the health and safety of people who are incarcerated,


   2
     Sherman v. Klenke, 653 Fed. App’x 580, 592 (10th Cir. 2016) and Swan v. Physician Health
   Partners, Inc., 212 F. Supp. 3d 1000, 1008-10 (D. Colo. Sept. 8, 2016), on which Defendants
   rely (Doc. 46 at 12, 17), are easily distinguished because the cost-saving allegations in those
   cases were bare and conclusory. Mr. Taylor makes detailed allegations that Larimer County
   prioritizes cost-saving at the expense of adequate prisoner health care by discussing the contract,
   making comparisons to costs at comparable facilitates, and giving examples of several prisoners
   who have been denied needed medical care under this practice. (Doc. 38 at ¶¶ 340-87, 390-96.)



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   including dozens of instances of individuals dying or becoming severely injured under Armor’s

   care. (Doc. 38 at ¶¶ 269-329, 390-96.) Several of these instances, like Mr. Taylor’s, involved

   Armor professionals who disregarded obvious signs of problems and failed to provide standard

   care. (Id. at ¶¶ 290-95, 308, 329.) Yet despite Armor’s egregious record and Larimer County

   officials’ knowledge of that record, Larimer County signed a contract with Armor. (Id. at

   ¶¶ 330-35.) Larimer County’s assertions that whether it knew of Armor’s business model of

   delaying and denying care for financial purposes is irrelevant is wholly unsupported by any case

   law, including Waller v. City and County of Denver, 932 F.3d 1277, 1286 (10th Cir. 2019),

   which Defendants cite for the proposition. (Doc. 46 at 16 n.4.) Larimer County and Defendants

   Smith’s and Palmer’s decision to enter into a contract knowing of Armor’s unconstitutional

   policies is entirely relevant in an analysis that asks whether the government actors disregarded a

   known risk. See Mata, 427 F.3d at 752. Longstanding precedent requires a government entity to

   provide constitutionally adequate medical care. See Estelle v. Gamble, 429 U.S. 97, 103 (1976).

   There is no law saying Defendants can avoid that duty by contracting with a private company.

           Larimer County officials’ knowledge of Armor’s history is supported by its role in the

   contract process (id. at ¶ 335) as well as the intensive contract negotiation during which the two

   entities discussed Armor’s having cut costs at other facilities (id. at ¶¶ 354-63). It is reasonable

   to infer, as is proper at this stage, see Iqbal, 556 U.S. at 678, 681, that an entity with an

   obligation to provide constitutionally adequate medical care to its jail population would exercise

   due diligence and be aware of Armor’s business practices. It is also reasonable to infer that

   Larimer County would be aware of this practice by the sheer number of allegations and lawsuits

   against Armor, which are publicly available. (Id. at ¶¶ 269-329, 390-96.)



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          Mr. Taylor also alleged other instances of detainees at LCJ being ignored and denied

   adequate medical care. (Id. at ¶¶ 390-96.) The Amended Complaint also detailed Larimer

   County’s understaffing in their “severe[ly] overcrowd[ed]” jail. (Id. at ¶¶ 375-81.) Despite this

   overcrowding, Larimer County only had one doctor available for 8 hours a week, who needed to

   care for the hundreds of prisoners incarcerated in the jail. (Id. at ¶¶ 374, 378.) Additionally, no

   more than nine or ten medical staff worked onsite during weekdays; on weekends, no more than

   three medical staff worked at the same time. (Id. at ¶ 381.) This understaffing practice, which

   resulted in detainees being unable to see medical staff, has existed at Larimer County for many

   years, even before it worked with Armor. In 2014, Larimer County booked 10,595 individuals

   into its jail. (Id. at ¶ 336.) In 2015, Larimer County booked 11,125 individuals into its jail. (Id.)

   Despite these high numbers, in 2014, only 267 detainees in the LCJ saw a doctor in 2014, and in

   2015, only 463 detainees in the LCJ saw a doctor. (Id.) Obviously, where medical staff are one

   of the costliest expenses in jail management, Armor’s choice to employ fewer staff saves

   Larimer County money by lowering contractual costs. (Id. at ¶¶ 369-70.)

          These widespread practices (including cost-cutting, overcrowding, and understaffing)

   contributed to the constitutional violation in this case, where Mr. Taylor could not “see the

   doctor as frequently or as quickly as he needed to” nor obtain the medical care he needed,

   including a referral for costly outside treatment. See Brown, 520 U.S. at 404. (Doc. 38 at ¶ 379.)

      C. Despite the likelihood of problems and its knowledge of actual problems, Larimer
         County failed to train and supervise Armor staff.

          It is also evident that Larimer County failed to properly train or supervise Armor medical

   professionals about how to properly treat a serious wound infection, provide chronic care, and

   seek specialist guidance for conditions they were unable to treat. This is apparent given that Mr.


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   Taylor exhibited obvious signs of infection, including wound discharge and swelling, fever, loss

   of appetite, excessive weight loss, and nausea, but no Armor medical provider treated him for the

   serious infection that these symptoms obviously demonstrated he had, instead offering him

   Gatorade and Band-aids. (Doc. 38 at ¶¶ 402-40.) Additionally, the Amended Complaint

   describes a National Commission on Correctional Health Care (NCCHC) audit that found

   significant failings of LCJ’s medical system that were not identified or remedied by Larimer

   County itself, evidencing a lack of oversight. (Id. at ¶¶ 414-24.)

          Defendants attempt to argue that it is not “highly predictable” that “engaging Armor or

   otherwise allegedly failing to supervise or train them” would lead to the constitutional violation

   against Mr. Taylor. (Doc. 46 at 16.) But the Amended Complaint details Armor’s long history

   of denying care in similar ways as to what occurred with Mr. Taylor, as discussed supra. (Doc.

   38 at ¶¶ 269-329, 390-96.) In Harris, the Court noted that when the applicable law and

   circumstances mandate that individuals have a sufficient understanding of the law, the need for

   training and supervision is obvious. 489 U.S. at 390 n.10. For example, just as there is an

   obvious need for police departments to train officers on the use of deadly force, so too is there an

   obvious need for jails to train their staff to provide adequate medical care. Id. at 390. Though

   Armor has its own responsibility to train and supervise its staff, Larimer County cannot contract

   out of its constitutional obligation to provide its jail population adequate medical care. See

   Estelle, 429 U.S. at 103. This Court should reject its attempt to shirk this responsibility.

   III.   Mr. Taylor sufficiently pleads individual claims against Defendants Smith and
          Palmer.

          To demonstrate his claims against Defendants Smith and Palmer, Mr. Taylor must show

   that: “(1) the defendant promulgated, created, implemented or possessed responsibility for the


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   continued operation of a policy that (2) caused the complained of constitutional harm, and (3)

   acted with the state of mind required to establish the alleged constitutional deprivation.” Dodds

   v. Richardson, 614 F.3d 1185, 1199 (10th Cir. 2010). This requires showing “that a supervisor

   established or utilized an unconstitutional policy or custom,” setting “in motion a series of events

   that the defendant knew or reasonably should have known would cause others to deprive the

   plaintiff of her constitutional rights.” Burke v. Regalado, 935 F.3d 960, 997 (10th Cir. 2019)

   (internal citations omitted). Local government policymakers are deliberately indifferent when

   they purposefully fail to act in response to obvious risks of harm “which will almost inevitably

   result in constitutional injury.” Hollingsworth v. Hill, 110 F.3d 733, 745 (10th Cir. 1997).3

          A. Defendants Smith and Palmer maintained a constitutionally-deficient medical-
             care system knowing of an urgent need for reform.

          Defendants Smith and Palmer knew of Armor’s deficient policies and the problems with

   their own deficient medical-care system yet disregarded them. (Doc. 38 at ¶¶ 441-63.) In Burke,

   the Tenth Circuit found individual liability against jail supervisors under similar facts. There, the

   plaintiff demonstrated that a sheriff provided “insufficient medical resources and training,

   chronic delays in care, and indifference toward medical needs at the jail, and that he did so

   knowing of an urgent need for reform.” 935 F.3d at 999 (emphasis added). The Burke court

   discussed how, as here (Doc. 38 at ¶¶ 415, 441-24), the NCCHC had identified recurring issues

   with the jail’s medical care system, demonstrating that the sheriff maintained a policy or custom

   of providing deficient medical care at the jail. Id. The court also noted the sheriff’s awareness



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     Because the applicable standard here is essentially the same as the Monell standard, the
   evidence and analysis discussed supra is also relevant to Defendants Smith’s and Palmer’s
   liability.


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   of the jail’s understaffing, which exists here (id. at ¶¶ 375-81), and the evidence demonstrating

   the jail’s “chronic deficiencies” as “consistent with” the plaintiff’s situation. Id. at 999-1000.

          The NCCHC audit here demonstrates Defendants’ liability even more strongly than the

   audit in Burke, because the NCCHC found that the LCJ had failed to comply with an “Essential

   Standard” regarding Infirmary-Level Care, which Mr. Taylor required for his wound and

   worsening infection. (Id. at ¶¶ 416-17.) The audit also found that LCJ had inappropriately

   treated wounds and administered antibiotics, causing NCCHC to issue a corrective action LCJ

   had to address before reaccreditation. (Id. at ¶¶ 420-21.)

          Defendants Smith and Palmer were also aware of other issues with the medical system

   there, including problems resulting in significant injury and death. (Id. at ¶¶ 441-45, 454-58.)

   Both Defendants knew of understaffing at the jail. (Id. at ¶¶ 375-81.) And Defendants Smith

   and Palmer knew of the general need to provide quality medical care to the jail’s population due

   to its vulnerability and tendency for illness and injury. (Id.) Yet both disregarded the need for a

   more sufficient medical-care system, opting instead to maintain the deficient one. (Id. at ¶¶ 450,

   459.) This shows deliberate indifference. See Hollingsworth, 110 F.3d at 745.

    IV.   The law governing Defendants Smith’s and Palmer’s conduct in violating Mr.
          Taylor’s rights was clearly established.

          For the purpose of a qualified-immunity analysis, a right is clearly established when it is

   “sufficiently clear that a reasonable official would have understood that his conduct violated the

   right.” Currier v. Doran, 242 F.3d 905, 923 (10th Cir. 2001). A law is clearly established when

   “Tenth Circuit or Supreme Court precedent . . . makes the unlawfulness of the officers’ actions

   apparent,” Mascorro v. Billings, 656 F.3d 1198, 1208 (10th Cir. 2011), or a “robust consensus of

   persuasive authority” demonstrates the same, Ashcroft v. al-Kidd, 563 U.S. 731, 742 (2011). To


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   defeat a qualified-immunity defense, plaintiffs need not “find a case with exact corresponding

   factual circumstances;” instead, defendants must “make ‘reasonable application of the prevailing

   law to their own circumstances.’” Mascorro, 656 F.3d at 1208 (citation omitted). The inquiry

   “involves more than a scavenger hunt for prior cases with precisely the same facts.” Perea v.

   Baca, 817 F.3d 1198, 1204 (10th Cir. 2016). The focus is on “whether the violative nature of

   [the] particular conduct is clearly established.” Id. (emphasis added).

          A. Focusing on the conduct alleged reveals the law is clearly established.4

          Mr. Taylor alleges that Defendants Smith and Palmer maintained policies and customs at

   the LCJ that prioritized cost-saving over health, resulting in rote denial of necessary treatment,

   understaffing and overcrowding, problems in the jail identified by audits, and a failure to

   properly train and supervise staff—all of which led to constitutional violations. (Doc. 38 at


   4
     Defendants attempt to define the conduct at issue so specifically that it takes up ten lines of
   text. (Doc. 46 at 20.) Essentially, Defendants ask for the “exact corresponding factual
   circumstance,” to demonstrate that it was clearly established that these Defendants’ conduct
   violated Mr. Taylor’s right, but such specificity is not required. See Mascorro, 656 F.3d at 1208.
   Moreover, this Court has correctly noted that additional specificity under the clearly-established
   analysis is most important in the Fourth-Amendment context, which is not at issue here:

                  The Court is keenly aware of the Supreme Court’s recent emphasis
                  on defining clearly established rights with specificity. Nearly all
                  of these recent Supreme Court decisions, however, have arisen
                  from allegations of excessive force under the Fourth Amendment
                  . . . In the Court’s view, this acknowledgement at a minimum
                  urges caution by the district courts of simply assuming the broadest
                  application of White and similar per curiam reversals outside the
                  context of excessive force cases brought under the Fourth
                  Amendment. In any event, qualified immunity does not demand
                  an absurd level of specificity.

   Estate of Walter by and through Klodnick v. Correctional Healthcare Companies, 323 F. Supp.
   3d 1199, 1212 (D. Colo. 2018) (J., Martinez) (internal citations omitted). For these same
   reasons, this Court should reject Defendants’ attempt to define the conduct at issue so narrowly.


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   ¶¶ 340-90, 414-24.) Defendants Smith and Palmer did all this knowing of the need for change

   but failing to effectuate any change, see supra section II, thereby showing deliberate indifference

   to Mr. Taylor’s medical needs. Such deliberate indifference resulted in unnecessary pain and

   suffering, permanent injury, and disability. See Burke, 935 at 999-1000. (Doc. 38 at ¶¶ 121,

   238-57.)

          Since 1976, it has been clearly established that prison officials’ “deliberate indifference

   to the serious medical needs of prisoners” violates the Eighth Amendment. Estelle, 429 U.S. at

   97. It has also been clearly established that delay in providing medical care resulting in pain is

   deliberate indifference. Ramos v. Lamm, 639 F.2d 559, 576 (10th Cir. 1980). The Tenth Circuit

   has since decided many cases making clear that prison officials’ deliberate indifference to

   serious medical needs, including the risk of infection and unnecessary and prolonged pain,

   violates the Constitution. See, e.g., Mata, 472 F.3d at 755; Sealock, 218, F.3d at 1210. It is also

   clearly established that jail supervisors may be held liable due to their knowledge and continued

   maintenance of policies and systems that contribute to constitutional violations even when they

   are not aware of a specific risk to a specific prisoner. See, e.g., Farmer v. Brennan, 511 U.S.

   825, 843 (1994); Sanders v. Glanz, 138 F.Supp.3d 1248, 1263-64 (10th Cir. 2015).

          Thus, “reasonable application” of “prevailing law to [these] circumstances,” see

   Mascorro, 656 F.3d at 1208, demonstrates that the law was sufficiently clear in this area in 2018

   such that Defendants Smith and Palmer would have understood that deliberately disregarding the

   known risk of serious injury to people incarcerated in their jail due to their faulty medical-care

   system was unconstitutional. See Currier, 242 F.3d at 923. Because the necessary focus of the

   qualified immunity analysis is on Defendants Smith’s and Palmer’s conduct, Perea, 817 F.3d at



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   1204, it is unreasonable to conclude they may evade liability simply because the clearly

   established law comes from several cases rather than one. See Boswell v. Sherburne County, 849

   F.2d 1117, 1121-22 (8th Cir. 1988) (denying qualified immunity and recognizing that the law

   can be clearly established by multiple cases governing supervisors’ conduct).5

            For these reasons, this Court should decline to extend qualified immunity to these

   Defendants and allow Mr. Taylor’s claims to proceed.

       V.   Application of Colo. Rev. Stat. § 13-21-131 as to Defendants Smith and Palmer is
            not unconstitutionally retrospective.

            Defendants argue application of the new remedy provided for in SB 20-217, the Law

   Enforcement Accountability and Integrity Act (LEAIA) (Exhibit 1), codified at Colo. Rev. Stat.

   § 13-21-131, as to Defendants Smith and Palmer is unconstitutionally retrospective under article

   II, section 11 of the Colorado Constitution. (Doc. 46 at 21-25.) City of Colorado Springs v.

   Powell, 156 P.3d 461, 465 (Colo. 2007) (recognizing that retroactive changes in the law are “not

   necessarily unconstitutional” but cautioning that “‘retrospective’ legislation is constitutionally

   prohibited.”) Colorado retroactivity and retrospectivity analysis go hand-in-hand: a court must

   first determine whether the legislatures intended the statute to operate retroactively. If the

   legislature so intended, the court must then determine whether the statute is unconstitutionally




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     Moreover, although Mr. Taylor does not believe looking to other circuits is necessary, he notes
   that a “robust consensus” of cases from other circuits make clear that prison and jail supervisors
   denying prisoners adequate medical care through policies to cut corners and save costs, as well
   as failing to train and supervise, violates the Constitution. See, e.g., McKenna v. Wright, 386
   F.3d 432, 437 (2d Cir. 2004); Thompson v. Upshur Cty., TX, 245 F.3d 447, 462 (5th Cir. 2001);
   Leach v. Shelby Cty. Sheriff, 891 F.2d 1241, 1247 (6th Cir. 1989); Boswell, 849 F.2d at 1123;
   Bass by Lewis v. Wallenstein, 769 F.2d 1173, 1184 (7th Cir. 1985); Ancata v. Prison Health
   Services, Inc., 769 F.2d 700, 705-06 (11th Cir. 1985).


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   retrospective, i.e., whether it takes away or impairs vested rights, creates a new obligation,

   imposes a new duty, or attaches a new disability to conduct that occurred in the past. Id.

           A. Defendants waived any argument as to LEAIA’s retroactivity.

           Defendants Smith and Palmer stated they assumed for purposes of their Motion to

   Dismiss that Colorado legislators intended Colo. Rev. Stat. § 13-21-131 to operate retroactively

   and stated in a footnote that they “reserve … [an argument regarding retroactivity] for potential

   future argument.” (Doc. 46 at 23-24, n.6.) “[C]ourts have held that arguments are waived when

   parties fail to provide proper support or only superficially develop them.” Grimaldo v. Reno,

   189 F.R.D. 617, 619 (D. Colo. 1999) (citing Franklin Savings Corp. v. U.S., 180 F.3d 1124,

   1128 n.6 (10th Cir. 1999) (argument was “develop[ed] ... so superficially ... as to waive it”)).

   While Defendants note this part of the analysis (i.e. whether a provision is retroactive), they

   completely fail to argue it and have therefore waived any further argument on this point. See,

   e.g., Jewell v. State Farm Mut. Auto. Ins. Co., No. 18-CV-02536-KLM, 2020 WL 1627348, at *5

   (D. Colo. Feb. 26, 2020) (unpublished) (faulting party for failing to raise an argument in its

   initial motion).

           Defendants’ justification for failing to fully articulate their argument (that they “have not

   been able to secure to-date the complete legislative history of S.B. 217”) is unpersuasive. (Doc.

   46 at 23 n.6.) Defendants cite no authority that such circumstances justify their waiver.

   Moreover, legislative history is publicly available.6 And Defendants admit that review of


   6
     For example, considerable information regarding SB 20-217—such as vote summaries at
   various committees, amendments, and iterations of the bill—is available on the Colorado
   General Assembly website, available at https://leg.colorado.gov/bills/sb20-217. Additionally,
   legislative hearings—including those discussing SB 20-217—can be viewed online at
   https://www.coloradochannel.net/watch-meetings/.


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   legislative history is only a part of any analysis regarding retroactivity. (Doc. 46 at 23, n.6.) Yet

   they fail to offer any analysis here. Therefore, this Court should reject any attempt by

   Defendants to raise belated arguments as to this point.7

          B. This provision is not retrospective.

          Defendants Smith and Palmer argue that Colo. Rev. Stat. § 13-21-131 as applied to their

   conduct at issue in this case is unconstitutionally retrospective. (Doc. 46 at 21-24.) It is well

   established under Colorado law that “[a]pplication of a statute is not rendered retroactive and

   unlawful merely because the facts upon which it operates occurred before adoption of the

   statute.” Cont’l Title Co. v. Dist. Court In & For City & Cty. of Denver, 645 P.2d 1310, 1314

   (Colo. 1982). Defendants Smith and Timothy Palmer argue that the claims against them under


   7
     If the Court is inclined to consider a belated retroactivity argument on its merits, Mr. Taylor
   will briefly address it here. By enacting LEAIA, the Colorado legislature intended to add a
   remedy to further allow victims of certain law-enforcement officers to vindicate their
   longstanding rights under the Colorado Constitution. Under Colorado law, a legislature’s intent
   that a statute operate retroactively may be implied. Ficarra v. Dep’t of Regulatory Agencies,
   Div. of Ins., 849 P.2d 6, 13-14 (Colo. 1993) (“We have never held that express language of
   retroactive application is necessary to express such intent.”) Even though lawmakers provided
   for several provisions of LEAIA to take effect in the future, the particular provision at issue here
   “takes effect upon passage,” (see Exhibit 1, (SB 20-217, Section 18)), and its remedial
   mechanism provides for a two-year statute of limitation. Colo. Rev. Stat. § 13-21-131(5); see
   also Exhibit 1 (SB 20-217, Section 3). Thus, the plain language of the law supports the
   conclusion that it can be used to redress the constitutional violation at issue here.
            Moreover, Colorado lawmakers did not limit this remedy to violations occurring after the
   effective date of the Act, as they did in other situations. For example, in the 2019 Equal Pay for
   Equal Work Act (EPEWA), Colorado legislators created additional remedies for employees
   against their employers for illegal pay discrimination. See SB 19-085, Section 6 (amending
   Colo. Rev. Stat. § 8-5-104) (Exhibit 2). In EPEWA, lawmakers expressly precluded retroactive
   application of the new law, stating “[t]his act applies to violations that occur on or after the
   applicable effective date of this act.” See SB 19-085, Section 9. And earlier in 2020, Colorado
   lawmakers removed the ability for the death penalty to be imposed in Colorado for sentences
   charged on or after July 1, 2020, and the law expressly stated that the provision did not alter any
   death sentence imposed prior to that date. See Colo. Rev. Stat. § 16-11-901.



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   LEAIA would be impermissibly retrospective because prior to LEAIA’s passage, they could

   assert a one-year statute of limitations defense to all claims that could exist against them. (See

   Doc. 46 at 22-24.) This is incorrect in two ways: (1) Colorado case law shows that the one-year

   statute of limitations set out in Colo. Rev. Stat. § 13-80-103(c) does not necessarily apply here;

   and (2) loss of a statute-of-limitations defense does not make the law impermissibly

   retrospective.

              1. Colorado case law shows that Defendants Smith and Palmer aren’t necessarily
                 entitled to the one-year statute of limitations set out in Colo. Rev. Stat. § 13-80-
                 103(c).

          Defendants argue that despite LEAIA’s statement that “a civil action pursuant to this

   section must be commenced within two years after the cause of action accrues,” under Colo.

   Rev. Stat. § 13-80-103(c) (entitled “General limitations of actions—one year,” referred to herein

   as “general statute of limitations”) the statute of limitations on this claim would be one year from

   the date an action accrues but for LEAIA. (Doc. 46 at 21-22.) But the one-year general statute

   of limitations for tort actions against sheriffs or other law enforcement would not apply here.

          First, because LEAIA is the more specific statute at issue, its statute of limitations

   provision applies. See, e.g., Reg’l Transp. Dist. v. Voss, 890 P.2d 663, 668 (Colo. 1995)

   (“[O]rdinarily a more specific statute should be applied rather than a more general statute if both

   statutes deal with the same or similar subject matter.”) (internal citation omitted); Jones v. Cox,

   828 P.2d 218, 223 (Colo. 1992). In Jones, the Colorado Supreme Court noted:

                    Our rules of statutory construction are that a special statute
                    preempts a general statute, that a later statute is given effect over
                    an earlier statute, and that because statutes of limitation are in
                    derogation of a presumptively valid claim, a longer period of
                    limitations should prevail where two statutes are arguably
                    applicable.


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   828 P.2d at 222. Here, although the general statute of limitations delineates the general time

   limit for tort claims against sheriffs and law enforcement officers, LEAIA delineates the time

   limit for state constitutional claims brought against peace officers. Colo. Rev. Stat. § 13-21-

   131(1). As such, LEAIA is much more specific and is therefore applicable here. See, e.g.,

   Dawson v. Reider, 872 P.2d 212, 217 (Colo. 1994) (holding plaintiffs were entitled to three-year

   statute of limitations of the No-Fault Act applied in tort for actions under the Colorado Auto

   Accident Reparations Act against a sheriff and his deputy). Second, LEAIA applies, as it is the

   later statute; the general statute of limitations was last updated in 2017. See S.B. 17-294

   (amending language in Colo. Rev. Stat. § 13-80-103 unrelated to then-existing provision

   regarding claims against law enforcement). LEAIA’s two-year statute of limitations should

   prevail over the general, one-year statute of limitations because it is longer. See Jones, 828 P.2d

   at 222.

                2. The potential loss of a statute-of-limitations defense does not necessarily make
                   application of a retroactive statute impermissibly retrospective.

             Defendants argue that prior to the passage of LEAIA “law enforcement officials like the

   Individual Defendants were long-entitled to a one-year statute of limitations for any cause of

   action.” (Doc. 46 at 22.) As noted above, that is not accurate. They proceed to argue that any

   imposition on their ability to present that defense renders the applicability of LEAIA here

   retrospective. (Doc. 46 at 23-24.) But, given that this is a new remedy (with its own statute of

   limitations), Defendants never had a vested right to that defense for constitutional claims. A new

   remedy does not “constitute[] the impairment of a vested right nor the imposition of a new duty,




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   for there is no such thing as a vested right in remedies.” Cont’l Title, 645 P.2d at 1315 (internal

   quotations omitted).

          Defendants note that “where a statute of limitations has run and the bar attached,”

   retroactive legislation impermissibly infringes on vested rights and is retrospective. (Doc. 46 at

   23 (quoting Jefferson County Dep’t of Social Servs. v. G., 607 P.2d 1004, 1006 (Colo. 1980))

   (alterations omitted).) But the statute of limitations as to this claim did not exist in November

   2019, so here there is not a resurrection of a claim that has come and gone. Indeed, Defendants’

   only cited authority for this argument, Jefferson County, beautifully illustrates why the

   Defendants’ argument is without merit. In Jefferson County, a child, through her mother and the

   Department of Social Services brought an action against the father regarding determination of

   paternity and child support in 1977 for a child born in 1970. 607 P.2d at 1005. Under the law

   that existed on the date the child was born, such an action had to be brought within five years of

   birth. Id. Thus, under that law the statute of limitations would have run in 1975. But, in 1977,

   the Uniform Parentage Act (U.P.A.), became effective, repealed the previous paternity statute

   and adopted a new, longer statute of limitations. Id. The Colorado Supreme Court held that the

   “paternity action, prosecuted by the Department, which was barred after September 10, 1975 by

   the then applicable statute of limitations may [not] be constitutionally revived by the U.P.A.” Id.

   (emphasis added). But the court differentiated that impermissible claim from the

   constitutionally-acceptable claim stemming from the new remedy created for the child by the

   U.P.A.:

                  An action brought by the child does not suffer the same
                  constitutional infirmities as does an action brought by the mother,
                  the father or the Department in this case. . . . The prior statute of
                  limitations did not bar a suit by the child, as the child could not


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                  institute an action under the prior paternity statute, and thus, there
                  is no revival of a previously barred action. The U.P.A. merely
                  creates a remedy which the child previously did not possess.

   Id. at 1006 (internal citation omitted) (emphasis added). Defendants are like the child in Jefferson

   County—they never had a statute of limitations to have any vested interest in because, prior to the

   passage of LEAIA, Mr. Taylor could not seek this remedy against Defendants.

          C. Defendants waived other arguments as to why LEAIA is retrospective as
             applied.

          Again, in a footnote, Defendants state they “do not raise now and reserve for potential

   future argument whether” LEAIA creates a new obligation, imposes a new duty, or attaches a

   new disability when applied to their conduct here.” (Doc. 46 at 23, n.6.) Other than this

   perfunctory note, Defendants make no argument that allowing Mr. Taylor to assert his state

   constitutional claims here results in unconstitutional retrospectivity for any reason other than

   their inability to assert a one-year statute of limitations defense. For the reasons stated above,

   Defendants waived any other argument as to retrospectivity. See Sports Racing Servs., Inc. v.

   Sports Car Club of Am., Inc., 131 F.3d 874, 880 & n. 9 (10th Cir. 1997).8


   8
     But in case the Court is inclined to entertain belated arguments on this point from Defendants,
   Mr. Taylor also briefly addresses that issue here. As noted, laws that take away or impair vested
   rights, create a new obligation, impose a new duty, or attach a new disability are
   unconstitutionally retrospective. Cont’l Title Co., 645 P.2d at 1314 (Colo. 1982) (internal
   citations omitted). As argued supra [section], LEAIA does not impose on Defendants’ proffered
   vested right to a statute of limitations defense. But it also does not violate any other vested
   rights. Notwithstanding Defendants’ assertion (Doc. 46 at 23),
                    ‘[T]here are no bright line tests to determine what constitutes a
                    vested right or when that right accrues.’ In determining whether a
                    statute impairs vested rights, among other factors we must consider
                    whether the provision defeats the reasonable expectations of
                    affected persons or surprises persons who have long relied on a
                    contrary state of law.



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    VI.   Mr. Taylor has sufficiently stated a state constitutional violation.

          A. The state constitutional standard is not identical to the federal constitutional
             standard.

          Defendants state that it can be “confidently predicted” that the Colorado constitutional

   standards will be identical to the standards crafted for federal constitutional standards. (Doc. 46

   at 24-25.) But the Colorado Supreme Court very recently reiterated “[w]hen interpreting our

   own constitution, we do not stand on the federal floor; we are in our own house.” Rocky

   Mountain Gun Owners v. Polis, 2020 CO 66, ¶ 36. In Rocky Mt. Gun Owners, the Court stated it

   leaned on federal analysis primarily where: “the text of the two provisions is identical or

   substantially similar,” “where consistency between federal and state law has been a goal of our


   Kuhn v. State, 924 P.2d 1053, 1059 (Colo. 1996) (quoting Ficarra v. Department of Regulatory
   Agencies, 849 P.2d 6, 16-17 (Colo. 1993)). Although the remedy available for a violation of the
   Colorado Bill of Rights has changed, Defendants Smith and Palmer have been obligated to abide
   by the constitutional provisions therein long before LEAIA. They do not assert—nor could
   they—that they were surprised that they were obligated to follow the Colorado Constitution.
   In Cont’l Title Co., the Court considered whether a statute enacted after unlawful, discriminatory
   actions of an employer—actions which were prohibited under law at the time of the conduct—
   could be relied upon to establish jurisdiction for a discrimination claim. 645 P.2d at 1313-14.
   The Court permitted application of the new, retroactive law because:
                   [t]he effect of that section is only to provide an alternative remedy
                   for vindication of the alleged discriminatory and unfair
                   employment practice […]. It does not remove an affirmative
                   defense that might otherwise be asserted by [defendant], nor does
                   it create substantive rights by retroactively changing what was
                   formerly a lawful employment practice into a discriminatory
                   practice.
   645 P.2d at 1315. As in Cont’l Title Co., applying LEAIA here does not create substantive rights
   or duties by retroactively changing formerly lawful conduct into unlawful conduct; it merely
   provides a new remedy for vindication of unlawful conduct. A statute that creates only a
   procedural or remedial change in existing law is not unconstitutionally retrospective. Id. at 1315.
   “[T]here is no such thing as a vested right in remedies.” Jefferson County, 607 P.2d at 1006.
   Application of LEAIA to Defendants Smith and Palmer in this case is not impermissibly
   retrospective, and the Court should allow the claims to proceed on the merits.



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   own precedent,” where the U.S. Supreme Court’s reasoning is sound, and “where no party has

   argued that the Colorado provision calls for a distinct analysis.” 2020 CO 66 at ¶¶ 37-38. But

   the Rocky Mt. Gun Owners Court specifically noted “parallel text does not mandate parallel

   interpretation.” Id. at ¶ 37. For example, in People v. McKnight, 2019 CO 36, ¶¶ 38-43, the

   Colorado Supreme Court departed from federal Fourth-Amendment jurisprudence in determining

   the parameters of the identically worded article II, section 7 of the Colorado Constitution. The

   Court noted that because the protections afforded by both article II, section 7 and the Fourth

   Amendment are “‘highly generalized,’ we discern no reason to reflexively assume that there

   must be ‘just one meaning over a range of differently situated sovereigns.’” McKnight, 2019 CO

   at ¶ 39 (quoting Imperfect Solutions at 174). The McKnight court justified its departure from

   federal jurisprudence by noting state courts “have a freer hand in doing something the Supreme

   Court cannot: allowing local conditions and traditions to affect their interpretation of a

   constitutional guarantee and the remedies imposed to implement that guarantee.” Id. at ¶ 40

   (internal quotations and citations omitted).

          Here, Mr. Taylor has brought a claim for cruel and unusual punishment and deprivation

   of due process under article II, sections 20 and 25 of the Colorado Constitution. (Doc. 38 at 90-

   92.) Although these provisions largely mirror parts of the U.S. Constitution, the Colorado

   Supreme Court has demonstrated that it can interpret the state constitution as providing greater

   protections than the federal constitution. See section VI.C., supra. Moreover, the protections at

   issue here are “highly generalized,” so there is not necessarily one meaning that need apply in all

   circumstances. See McKnight, 2019 CO at ¶ 39. Lastly, the Colorado provisions call for a




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   distinct analysis here because the Supreme Court’s interpretation of the parallel federal

   provisions is unsound, and Colorado precedent dictates stronger protections.

          B. The Colorado Supreme Court could easily find that the U.S. Supreme Court’s
             Eighth-Amendment jurisprudence is insufficiently protective.

          The Eighth Amendment reads: “Excessive bail shall not be required, nor excessive fines

   imposed, nor cruel and unusual punishments inflicted.” The doctrine governing claims

   challenging conditions of confinement derives from the last part of the amendment, which

   prohibits cruel and unusual punishment. See Farmer, 511 U.S. at 832. Supreme Court

   jurisprudence interpreting the Eighth Amendment in the context of prison conditions has become

   increasingly focused on punishment; this focus has led to the development of the deliberate-

   indifference test, which includes inquiry into the objective seriousness of the conditions and the

   subjective intent of the defendant prison official. See id. at 835-37. The Supreme Court has

   narrowly focused on the word “punishment,” rather than the words “cruel and unusual.” The

   Colorado Supreme Court could well find that this focus is off base because the punishment is

   incarceration, and the proper question should be whether the incarceration conditions have

   become so harsh, they should be considered “cruel and unusual.”9 See Margo Schlanger, The

   Constitutional Law of Incarceration, Reconfigured, 103 Cornell L. Rev. 357, 362 (2018)

   (explaining how the Supreme Court has adopted “an unjustified and unproductive Eighth

   Amendment doctrine that made jailers’ hearts the touchstone for prisoners’ rights litigation,



   9
    Justice White predicted the problems with the subjective deliberate-indifference standard,
   noting “[n]ot only is the majority’s intent requirement a departure from precedent, it likely will
   prove impossible to apply in many cases ... In truth, intent simply is not very meaningful when
   considering a challenge to an institution, such as a prison system.” Wilson v. Seiter, 501 U.S.
   294, 310 (1991) (White, J., concurring in the judgment).


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   rather than the objective impact of their choices”). Therefore, a different standard should be

   applied for violations of the Colorado Constitution that recognizes incarceration as the

   punishment and focuses on whether prison conditions are cruel and unusual.

          C. The Colorado Constitution’s prohibition on cruel and unusual punishment is
             more protective than its federal counterpart.

          “The Colorado Constitution provides more protection for our citizens than do similarly or

   identically worded provisions of the United States Constitution” because the Colorado

   Constitution “is a source of protection for individual rights that is independent of and

   supplemental to the protections provided by the United States Constitution.” People v. Young,

   814 P.2d 834, 842-43 (Colo. 1991). In Young, the Colorado Supreme Court held that the

   Colorado death-penalty statute, which was substantially similar to other states’ death-penalty

   statutes upheld by the U.S. Supreme Court applying the Eighth Amendment, was

   unconstitutional under the Colorado Constitution’s due-process and cruel-and-unusual-

   punishments clause. Id. at 842-845. Therefore, the Colorado Constitution’s cruel-and-unusual-

   punishments clause provides greater protection than the Eighth Amendment.

          D. The appropriate standard for the Colorado Constitutional claim is akin to the
             standard outlined in Kingsley, which has been sufficiently alleged here.

          Given the greater protect of the Colorado Constitution’s cruel-and-unusual-punishments

   clause as compared to the Eighth Amendment, Mr. Taylor urges this Court to look to the more

   protective, objective standard articulated in Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015)

   as the standard to be applied to Mr. Taylor’s state claims.10 By using an objective inquiry to



   10
     See Gordon v. Cty. of Orange, 888 F.3d 1118, 1124-25 (9th Cir. 2018) (setting out the
   objective deliberate-indifference standard in context of medical-care claims; listing elements).


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   interpret article II, section 20, the Court can focus on the conditions of confinement at issue and

   not unduly focus on the individuals’ intent. See Estelle, 429 U.S. at 116-17 (J. Stevens,

   dissenting) (“[W]hether the constitutional standard has been violated should turn on the character

   of the punishment, rather than the motivation of the individual who inflicted it.”)

          Mr. Taylor respectfully suggests that this Court find that under article II, section 20 of the

   Colorado Constitution, he may establish his claim using either evidence of subjective knowledge

   (i.e., that the officials knew, constructively or otherwise, of a substantial risk of serious harm) or

   objective knowledge (i.e., that a reasonable official should have known about the risk because it

   was obvious). Allowing evidence of either subjective or objective knowledge to establish

   deliberate indifference under the Colorado Constitution ensures that the Colorado Constitution is

   more protective of its citizens’ rights than the federal constitution, as recognized under Colorado

   law.

          Nonetheless, under either standard, Mr. Taylor has stated a claim that Defendants

   violated the Colorado Constitution. As noted supra, section III, Mr. Taylor sufficiently states a

   claim against the Larimer County Defendants under the Eighth Amendment. Therefore, it also

   follows that he sufficiently stated a claim under the objective standard articulated herein. The

   Court should also deny Defendants’ Motion to Dismiss as to these claims.

                                             CONCLUSION

          For the reasons stated herein, this Court should Deny Defendants’ Motion after oral

   argument on the matter.




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   DATED this 2nd day of October, 2020.

                                               Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 2, 2020, I electronically filed the foregoing RESPONSE

   TO LARIMER COUNTY DEFENDANTS’ MOTION TO DISMISS (Doc. 46) AND

   REQUEST FOR ORAL ARGUMENT with the Clerk of the Court using the CM/ECF system,

   which will send notification of such filing to all counsel of record, including:

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